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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    GWG Holdings, Inc., et al.,1                                  )      Case No. 22-90032 (MI)
                                                                  )
    Debtors.                                                      )      (Jointly Administered)
                                                                  )      (Emergency Hearing Requested)
                                                                  )

       ORDER CLARIFYING THE CONSOLIDATED CREDITOR MATRIX MOTION

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) (a) clarifying that the Creditor

Matrix Order provides that the following requests for and uses of the unredacted creditor matrix

are not “reasonably related” to the Chapter 11 Cases: (i) requests and/or use in connection with

attorney advertising, (ii) requests and/or use in connection with soliciting potential clients,

including but not limited to the Bondholders, and (iii) requests and/or use in connection with

soliciting witnesses or other discovery in connection with third party claims that are not before the

Court, including but not limited to claims against broker dealers in connection with the Bonds or

otherwise, as more fully set forth in the Motion; and this Court having jurisdiction over this matter

pursuant to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with Article III of

the United States Constitution; and this Court having found that venue of this proceeding and the



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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
      location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
      St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
      cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate under the circumstances and no other notice need be provided as set forth herein; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

         1.    Requests for and/or use of the unredacted creditor matrix for the purpose of attorney

advertising are not reasonably related to the Chapter 11 Cases for purposes of the Creditor Matrix

Order.

         2.    Requests for and/or use of the unredacted creditor matrix for the purpose of

soliciting potential clients, including but not limited to the Bondholders, is not reasonably related

to the Chapter 11 Cases for purposes of the Creditor Matrix Order.

         3.    Requests for and/or use of the unredacted creditor matrix for the purpose of

soliciting witnesses in connection with claims against third parties, including but not limited to

claims against broker dealers in connection with the Bonds or otherwise, is not reasonably related

to the Chapter 11 Cases for purposes of the Creditor Matrix Order.

         4.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         5.    This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Dated:             , 2022
 Houston, Texas                                     UNITED STATES BANKRUPTCY JUDGE
